                       Case 2:05-cr-00122-DC Document 106 Filed 11/01/11 Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                     UNITED STATES DISTRICT COURT
                                                                        for the
                                                         Eastern District of California

                   United States of America
                              v.                                           )
                         EBONY PIPKINS                                     )
                                                                           )   Case No:       2:05CR122-02
                                                                           )   USM No: 15660-097
Date of Original Judgment:         6/9/06                                  )
Date of Previous Amended Judgment: 5/21/08                                 )   David Porter
(Use Date of Last Amended Judgment if Any)                                     Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of x the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
            DENIED.         X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of          108              months is reduced to                  67                 .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                             6/9/06         shall remain in effect.
IT IS SO ORDERED.

Dated: November 1, 2011



                                                                GARLAND E. BURRELL, JR.
                                                                United States District Judge
